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     UNITED STATES                         )      UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEW JERSEY
                                           )
            V.
                                           3
                                           3      DOCKET NO. 08-327 (SRC)
                                          3
                                          3           FINAL
     ERIC MAlONE                          3       ORDER EXTENDING
                                                  SURRENDER DATE



             This matter HAVING COME BEFORE THE Court on the motion of defend
                                                                                        ant
     Eric Maione, by his attorney Donald F. Manno, Esq. for an order extend
                                                                            ing the time to
     surrender on the sentence imposed by this Court on February 10, 2011;
                                                                           and the United
     States being represented by AssistakUnited States Attorney Bohdan Vitvits
                                                                                ky, Esq.; and
     for good cause shown:

            IT IS ON THIS
                            2   /day of June, 2011;

           ORDERED that Eric Maione shall surrender on September 30, 2011 to
                                                                                     begin
    serving the sentence of this Court to the institution designated by the
                                                                            United States
    Bureau of Prisons.




                                         United States District Judge
